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 8                              UNITED STATES DISTRICT COURT
 9                             CENTRAL DISTRICT OF CALIFORNIA
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11    MACKENZIE ANNE THOMA, a.k.a.                  Case No. 2:23–cv–04901 WLH (AGRx)

12    KENZIE ANNE, an individual and on             [PROPOSED] ORDER GRANTING
                                                    MOTION TO COMPEL
13    behalf of all others similarly situated,      PRODUCTION OF DOCUMENTS
14                                                  [DISCOVERY MATTER]
15          Plaintiff,
16    v.
17
18    VXN GROUP LLC, a Delaware limited
19    liability company; MIKE MILLER, an
20    individual,
21
22            Defendants.
23          On September 13, 2024 Defendants filed their Motion to Overrule Ryan Murphy’s
24    Claim of Privilege and Compel Production of Documents.
25          Defendants seek to compel Murphy’s counsel (also Plaintiff’s counsel) to produce
26    the communications listed on Murphy’s Privilege Log dated August 21, 2024 (“Privilege
27    Log”), and to produce heretofore unproduced documents responsive to Defendants’
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 1    Subpoena for Production of Documents dated May 24, 2024 and served upon Murphy on
 2    May 29, 2024 (“Murphy Subpoena”).
 3          The Court, having considered Defendants’ Motion and finding good cause
 4    therefor, hereby GRANTS the Motion and ORDERS as follows:
 5          1. Murphy’s claim of attorney-client privilege over communications listed in his
 6    Privilege Log is overruled;
 7          2. Murphy shall produce the messages listed in his Privilege Log to Defendants
 8    forthwith;
 9          3. Murphy shall produce all documents responsive to Request Nos. 8 and 32 of the
10    Murphy Subpoena to Defendants forthwith; and
11          4. Murphy’s counsel shall conduct a renewed search for documents responsive to
12    the Subpoena and produce any withheld responsive documents to Defendants forthwith.
13
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15          IT IS SO ORDERED.
16
17     Dated:
18                                             HON. ALICIA G. ROSENBERG
                                               UNITED STATES MAGISTRATE JUDGE
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